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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


  UNITED STATES OF AMERICA,                       HON. LAURIE J. MICHELSON
                                                  CASE NO. 23-20434
        Plaintiff,

  vs.

  ANDREW NICKELS,

       Defendant.
  _______________________________/

             DEFENDANT NICKELS’ SENTENCING MEMORANDUM
                    AND REQUEST FOR A VARIANCE

  Introduction

        The US Attorney’s office certainly has the broad discretion to decide who

  to charge with a crime, what crime or crimes to charge, whether to charge any

  enhancements or whether diversion or some alternative program is appropriate.

  In this case, despite the fact that Andrew Nichols is 38 years old and has no prior

  criminal history and that on one single occasion he left a message that

  constituted a threat yet took no other action or preparation, the Government

  sought to charge Andrew with a federal felony and now are requesting a

  custodial sentence. This case should have, instead, been submitted for diversion.

  There does not appear to be any logical rationale why this case, unlike cases

  that involved serious drug offenses, fraud, even assault that have been approved

  for diversion did not get diversion consideration or approval. There was no

  assault or specific threat or an attempt to assault or any weapons or conduct that




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  would suggest the threat was anything but someone with mental health issues

  who was not on his proper medication at the time.

         Andrew Nickels will now have a federal felony that he will never be able to

  expunge. Any jobs that he could seek and obtain have been even further

  reduced with this conviction. A custodial sentence will not deter anyone who is

  similarly suffering from mental health. A custodial sentence will serve only as an

  unnecessary punishment.

         While the Government did not exercise its discretion to impose a sentence

  of diversion with mental health treatment and supervision, that would have

  actually been a benefit not only to the Andrew but to society in general, this Court

  certainly has the discretion to impose a sentence of time served any to continue

  treatment.

         The Sixth Circuit has "repeatedly found information relating to an

  individual's. . . mental health . . . among other things, to be relevant to

  sentencing." United States v. Pineda, 755 F. App'x 543, 548 (6th Cir. 2018

  (Stranch, J., concurring). This is such an important factor that counsel may give

  ineffective assistance by failing to seek a downward departure where the

  supporting evidence of the mental condition might have convinced the Court to

  adjust a sentence downward. United States v. Parker, 57 F. App'x 803, 805 (10th

  Cir. 2003) (denying a certificate of appealability where a petitioner failed to show

  a "reasonable probability" that the court would have imposed a shorter sentence

  had counsel sought a downward departure for his mental health history).




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  Holland v. United States, No. 2:16-CV-221, 2019 U.S. Dist. LEXIS 128300, at *19

  (E.D. Tenn. Aug. 1, 2019)

          Mr. Nickels will appear before the Court for sentencing on July 9, 2024,

  having plead guilty to an one count Information, Transmitting Threats in Interstate

  Commerce, pursuant to 18 U.S.C. Section 875(c).

          There was not a Rule 11 plea agreement in this matter. It is not disputed

  that Defendant’s Offense Base Level is 12 and a criminal history I. The probation

  department has calculated Mr. Nickels’ guidelines to be 10-16 months.

  Facts

          On November 12, 2020, right after the elections, Mr. Nickels contacted the

  City Clerk’s Office in Rochester Hills, Michigan from his home in Indianapolis,

  Indiana, cursing, continuously ranting about things that didn’t even make sense

  and of course threats. Clearly, after reading the exact verbiage from the PSR on

  page 3, you would definitely tell there was something wrong with the caller. Mr,

  Nickels didn’t even know the name of the person who answered the phone.

          It was not until August 12, 2021, nine months later, when the FBI was

  contacted about these threats. On January 5, 2022, the FBI finally interviewed

  the complainant about what occurred almost a year after the incident. After the

  call, the complainant indicated to authorities that she felt a “fight or flight

  sensation and nausea”. Is that something serious enough to send a person to

  prison for having a psychological issue? If they would’ve sent an agent to see

  Mr. Nickels after this occurred, no one would have taken him seriously when they

  met him. He is a complete gentlemen!


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         Mr. Nickels was diagnosed with Schizoaffective Disorder and Attention

  Deficit Hyperactivity Disorder in 2008. Both diagnosis required medication to

  control behavior and also outbursts. It is quite obvious that Mr. Nickels was

  having his moment since he was not taking his medication. Since being on bond,

  he has not had violations.

  The Methodology


         Since the Supreme Court’s decision in United States v Booker, 543 U.S.

  220, 125 S.Ct 738 (2005), a district court’s sentencing decision is to be controlled

  by the broad overall mandate of 18 U.S.C. Section 3553(a). However, “the Act

  nonetheless requires judges to take account of the Guidelines together with other

  sentencing goals”. Id., at 764.

         In fashioning the appropriate sentence, Section 3553(a) commands that

  “[t]he court shall impose a sentence sufficient, but not greater than necessary, to

  fulfill the factors set forth in 3553. As stated by the Sixth Circuit in United States

  v Foreman, 436 F3d 638, 644 (6th Cir, 2006):

         It is worth noting that a district court’s job is not to impose a
         “reasonable” sentence. Rather a district court’s mandate
         is to impose “a sentence sufficient, but not greater than
         necessary, to comply with the purposes” of section 3553(a)
         (2). Reasonableness is the appellate standard of review in
         judging whether a district court has accomplished its task. Id,
         at fn. 1. (Emphasis added).

  The 3553(a) Factors


         The factors identified in 18 U.S.C. Section 3553(a), which directs a

  sentencing judge’s exercise of discretion, are undoubtedly well known to the


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  Court, but perhaps worth setting forth nonetheless, as a framework for the

  discussion which follows. In addition to the Guidelines and Policy Statements

  (factors (4) and (5), omitted below) they are as follows:

        (1) The nature and circumstances of the offense and the history and
            characteristics of the defendant;
        (2) The need for the sentence imposed-
               (A) To reflect the seriousness of the offense, to promote respect for
                   the law, and to provide just punishment for the offense;
               (B) To afford adequate deterrence to criminal conduct;
               (C) To protect the public from further crimes of the defendant; and
               (D) To provide the defendant with needed educational or vocational
                   training, medical care, or other correctional treatment in the
                   most effective manner;
        (3) The kinds of sentences available
                                          ****
        (6) The need to avoid unwarranted sentence disparities among
  defendants with similar records who have been found guilty of similar conduct;
        (7) The need to provide restitution to any victims of the offense.

         To a great degree, of course, these considerations are interlinked. Thus,

  for example, explication of “the history and characteristics of the defendant” is a

  necessary precondition to understanding “the nature and circumstances of the

  offense”. Of course the defendant’s “history and characteristics” also supports

  the factors that may demonstrate the “need” for any particular sentence or kind of

  sentence. There must also be consideration as to whether the imposition of

  sentence outside the mine constitutes a reasonable response to the particular

  facts of the case, or is an example of “unwarranted sentence disparities.”

         As the Supreme Court explained in its recent decision in Gall v United

  States, in applying these factors, a sentencing judge “must make an

  individualized assessment based on the facts presented” by the case, without

  giving presumptive weight to the Guidelines sentencing range.


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         Such an approach is not only commanded by the holding of United States

  v Booker, 543 U.S. 220 (2005), but is logical as well; in view of the degree to

  which the Guidelines are driven principally by the nature of the offense conduct,

  and only minimally by the characteristics of the offender.



         A. The Guidelines


         As noted above, the Assistant U.S. Attorney has calculated a guideline

  range of 10-16 months based on total offense level of 12 and a criminal history

  category of I. The United States Probation Officer, Alexander Roberts contends

  as well that guideline range should be 10-16 months. There is no minimum

  mandatory sentence.

         B. The History and Characteristics of the Defendant

         Mr. Roberts of the United States Probation Department has set

  forth not only the offense conduct but the offender’s characteristics as well.

  Undersigned counsel sees no need to simply reiterate what is contained in the

  report. Nevertheless, undersigned counsel believes it’s appropriate to

  supplement the report with some additional information.

         Although Mr. Nickels’ involvement with transmitting a threat certainly must

  be condemned and punished, however, undersigned counsel respectfully

  submits that it should not completely overshadow that Mr. Nickels is single with

  with no children. Mr. Nickels has been in mental health treatment after being

  diagnosed in 2008 with a mental illness. Both of his parents have been very

  supportive during the pendency of this case. His parents were completely

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  cooperative with the agents and government, and had to go through the agony

  of testifying against him before the grand jury, which was what the Government

  needed to indict him. Can you imagine how difficult that was?

         B. The “need for the sentence” to comport with the traditional
            purposes of punishment.1

        1 Retribution. The first of the statutory factors-that the sentence imposed

  should “reflect the seriousness of the offense…promote respect for the law, and

  …provide just punishment for the offense,” essentially echoes the traditional

  concept of “retribution.”

        Such measurements are of course difficult to draw with precision, and,

  as an advocate, it is difficult for counsel to maintain objectivity. However, while

  undoubtedly, the offense is a serious one, Mr. Nickels is capable of being a

  productive citizen in our community. He has been felony free for thirty-eight

  years so I am sure staying out of trouble is not a problem. He was finally

  employed in a full time job after numerous interviews.

        2 Deterrence-general and special. The two specifics of deterrence call

  for two kind of analysis. As for general deterrence-the need to fashion a

  punishment which will deter the public at large from taking the same course of

  action as did the defendant- it seems reasonable to conclude that a sentence

  which results in defendant having to serve any prison term would serve as a

  sufficient disincentive to others who might otherwise be tempted to engage in this


  1 The “traditional purposes of punishment …include retribution, rehabilitation,

  prevention of further crimes by the defendant, and deterrence of the defendant and
  others who might contemplate committing similar crimes. Hobbs v County of
  Westchester, 397 F.3d 133, 158 (2d Cir. 2005)(citing 1 W. LaFave, Substantive
  Criminal Law Section 1.5(a)(2d ed.2003).
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  same conduct. However, we contend that a custodial sentence is not needed

  here. No one was physically injured nor has Mr. Nickels ever been acting in this

  type of behavior prior to this offense. He simply was not on his medication at the

  time.

          With respect to special deterrence-the need to dissuade the defendant

  himself from future illegal conduct – the question seems far simpler. Mr. Nickels

  has certainly gotten the message that there are severe consequences for his

  actions and he is genuinely remorseful.

          3 Incapacitation. “The rationale for incapacitation is to allow society to

  protect itself from persons deemed dangerous because of their past criminal

  history.” Allen v Woodford, 395 F.3d 979, 1009 (9th Cir. 2004)(citing W. LaFave&

  A. Scott, Substantive Criminal Law 38 Section 1.5 (2003). Defendant Nickels is

  not a danger to society nor does he have any assaultive felony convictions in his

  background. Likewise, as a result of Defendant’s age, it is highly likely that after

  serving his sentence in this matter, that he would not be involved in any further

  criminal activity.

          4 Rehabilitation. Mr. Nickels is well on his way to being rehabilitated.

  It started when he was arrested by law enforcement officers and is now facing a

  prison sentence of 10-16 months. There is no question that Mr. Nickels clearly

  gets the message that wrongful criminal acts will clearly result in incarceration for

  any future crimes. Unfortunately, Mr. Nickels is not the person who needs to be

  incarcerated. He now has a full time job which was hard to find and would be

  even harder with this conviction.


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     For sentencing purposes, Defendant Nickels age should also be considered.

  The Guidelines do not consider that recidivism drops substantially with a

  defendant’s age. Simon v. United States, 361 F.Supp.2d 35, 40 (2005)(citing

  Nellum, 2005 U.S. Dist. Lexis 1568). Usually, under Guidelines Section 5H1.1

  age is not relevant, however, under Section 3553(a)(2)(c), defendant’s age is

  “relevant to the issue of protecting the public from further crimes of the

  defendant”. Nellum, 2005 U.S. Dist. Lexis 1568 at 9; See also Booker, 543 U.S.

  at 260, 125 S.Ct. at 765.

      In Ward, the defendant was convicted of conspiracy to distribute and

  possess cocaine and “crack” cocaine, and possession of a firearm while

  committing a drug offense. The defendant had total offense level of 45, which

  mandated a life sentence under the guidelines. At the time of his offense,

  defendant was 49 years old with a Criminal History Category I. According to

  defendant’s presentence report, he did not have a juvenile or adult criminal

  record except for four minor traffic violations. Otherwise, defendant did not have

  a background of criminal conduct. The court departed downward based on his

  criminal history coupled with his age. U.S. v Ward, 814 F.Supp. 23 (E.D. Va

  1993).

       In Nellum, defendant pleaded guilty to cocaine distribution charges. The

  court held that a sentence below the Guidelines was sufficient to satisfy the

  purposes of sentencing in defendant’s case. The court considered the guidelines

  and statutory factors, such as defendant’s advanced age, that he was a good




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   father who had a good relationship with his children, and his likelihood of

   recidivism.

      Defendant Nickels age and maturity have made him realize the need to

   continue taking his medications for his psychological issues. As a result of no

   prior felony record, no physical injuries to the victim, the fact that Mr. Nickels is

   employed, we are respectfully requesting a variance in this matter under the

   guideline range. The community definitely will not have to worry about Mr.

   Nickels returning to illegal activity.

          D. The kinds of sentences available.

          In the wake of Booker, the Court is free to impose any kind of sentence

   which it deems appropriate. It seems clear, however, that given Mr. Nickels’ age,

   family background, acceptance of responsibility in this matter, and lack of

   criminal history, there is strong likelihood that he would not be involved in

   criminal activity again. Therefore, a variance is necessary sentence that would

   be sufficient but not greater than necessary



                                             Respectfully submitted,


                                               s/Steven Scharg________
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          Dated: July 7, 2024




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                               CERTIFICATE OF SERVICE

          I hereby certify that on July 7, 2024, I electronically filed the

   foregoing paper with the Clerk of the Court using the ECF system, which will

   send notification of such filing to the following:

                                       Frances Carlson
                                       211 W. Fort Street, #2001
                                       Detroit, Michigan 48226
                                       (313) 226-9100
                                       frances.carlson@usdoj.gov




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